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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

____________________________________
                                        )
JOSHUA SABEY, SARAH PERKINS,            )
JOSHUA SABEY and SARAH PERKINS )
on behalf of C.S. 1 and C.S. 2, minors, )
                                        )
               Plaintiffs,              )
                                        )             Civil Action No. 23-10957-PBS
                       v.               )
                                        )
KATHERYN BUTTERFIELD, et al.,           )
                                        )
               Defendants.              )
____________________________________)


                      ORDER ON THIRD-PARTY MIDDLESEX JUVENILE
                         COURT’S MOTION TO QUASH SUBPOENA
                                   [Docket No. 148]

                                            April 8, 2025

Boal, M.J.

          Third-party the Middlesex Juvenile Court has moved, pursuant to Rule 45(d)(3)(A)(iii) of

the Federal Rules of Civil Procedure, to quash a subpoena served upon it by Plaintiffs. Docket

No. 148. 1 This Court heard oral argument on April 7, 2025. For the following reasons, this

Court grants the motion.

I.        RELEVANT BACKGROUND

          Plaintiffs Joshua Sabey and Sarah Perkins are the parents of two young children who

were removed from their home at 1:00 a.m. on a Saturday morning by the Massachusetts

Department of Child and Family Services (“DCF”) with the assistance of police officers from the



1
     On January 10, 2025, Judge Saris referred the motion to the undersigned. Docket No. 157.

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City of Waltham. The forced removal took place without a warrant three days after an

emergency room doctor discovered that the youngest child had two healing rib fractures, the

cause of which was uncertain. Sabey and Perkins, individually and on behalf of their two

children, brought this action against the DCF employees involved in the removal as well as the

police officers present at the removal. 2

       Plaintiffs served a subpoena on the custodian of records of the Cambridge Juvenile Court,

seeking “[a]ll documents, recordings, and transcripts related to proceedings in Case Nos.

22CP0150A, 2022-J-0637, and 2022-1176.” See Docket No. 148-1 at 2. 3 On December 11,

2024, the Middlesex Juvenile Court filed the instant motion to quash the subpoena. Docket No.

148. Plaintiffs filed an opposition on March 13, 2025. Docket No. 174.

II.    ANALYSIS

       Rule 45(d)(3)(A)(iii) of the Federal Rules of Civil Procedure provides that the court

“must quash or modify a subpoena that . . . requires disclosure of privileged or other protected

matter, if no exception or waiver applies.” 4 Juvenile Court records are impounded, pursuant to



2
 The Plaintiffs also brought claims against the City of Waltham but those claims were
dismissed. See Docket No. 89.
3
 Case No. 22CP0150A is the docket number for the underlying Juvenile Court care and
protection proceedings. Case No. 2022-J-0637 is the docket number for appellate proceedings
and, therefore, the Juvenile Court has no access to those records. It appears that the citation to
Case No. 2022-1176 was in error.
4
  The Plaintiffs argue that Rule 45(d)(3)(A)(iii) does not apply because Juvenile Court records
are not privileged. Docket No. 174 at 12. However, “the text of Rule 45(d)(3)(A)(iii) indicates
that the protection of that specific provision extends beyond the strict bounds of ‘privileged’
information to encompass ‘other protected matter.’” Jordan v. Comm’r, Mississippi Dep’t of
Corrections, 947 F.3d 1322, 1336 (11th Cir. 2020). Here, the records are protected from
disclosure by Juvenile Court Standing Order 1-84. To the extent that the Plaintiffs argue that
they have an absolute right to the records because those records concern them, this Court
disagrees. See Care and Protection of MC, 483 Mass. 444, 452 (2019) (noting that a motion to
release impounded documents in care and protection proceedings implicate “important, and
                                                  2
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Juvenile Court Standing Order 1-84. See Care and Protection of M.C., 479 Mass. 246, 247

(2018). Where a party seeks access to impounded records of the Juvenile Court, “the requestor

bears the burden of demonstrating that the records should be released under the good cause

standard of Rule 7 of the Uniform Rules on Impoundment Procedure.” Id. at 249. Rule 7

requires a Juvenile Court judge to balance the rights of the parties based upon the specific facts

presented in each case and to consider the following factors: “(i) the nature of the parties and the

controversy, (ii) the type of information and the privacy interests involved, (iii) the extent of the

community interest, (iv) constitutional rights, and (v) the reason(s) for the request.” Care and

Protection of M.C., 483 Mass. at 450.

       In addition, “every court has supervisory power over its own records and files . . .”

Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978). When confronted with a motion

regarding access to sealed state court records, federal courts have recognized the “sensitive

issues of comity and federalism” raised by such a request. Resolution Trust Corp. v. Castellett,

156 F.R.D. 89, 92 (D.N.J. 1994). Therefore, courts have generally required a party seeking

sealed state court records pursuant to a subpoena to first petition the court holding such records.

See, e.g., id.; Wilfong v. City of Boise, No. 1:21-cv-298-BLW, 2022 WL 1912218, at *3 (D.

Idaho June 3, 2022) (quashing subpoena for sealed state court records and noting that plaintiff

should file a motion to unseal the records she sought “by following the procedures specifically

detailed in the state court decision denying her previous public records request”); Puerto Rico

Aqueduct and Sewer Auth. v. Clow Corp., 111 F.R.D. 65, 67 (D.P.R. 1986) (“Indeed the proper

way for a third party to challenge a protective order is to intervene in the main action pursuant to



sometimes conflicting, constitutional rights,” including “parents’ fundamental rights to raise their
child . . . as well as the child’s and the parents’ rights to privacy.”).

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Fed. R. Civ. P. 24(b) for the limited purpose of seeking modification of the protective order.”).

Therefore, this Court finds that Plaintiffs must petition the Juvenile Court, pursuant to Rule 7 of

the Uniform Rules on Impoundment Procedure, to unseal the records they seek pursuant to the

subpoena.

III.     ORDER

         For the foregoing reasons, this Court grants the Middlesex Juvenile Court’s motion to

quash.

                                                        /s/ Jennifer C. Boal
                                                      JENNIFER C. BOAL
                                                      U.S. MAGISTRATE JUDGE




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